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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 SECURITIES AND EXCHANGE
 COMMISSION,                                        No. 17-cv-8223 (PKC)

                       Plaintiff,

                v.

 MOHAMMED ALI RASHID,

                       Defendant.



             PLAINTIFF SECURITIES AND EXCHANGE COMMISSION’S
             NOTICE OF FILING DIRECT TESTIMONY DECLARATIONS

       Plaintiff Securities and Exchange Commission hereby provides notice of filing declarations

of witnesses whose direct testimony will be offered by declaration pursuant to the Court’s May

17, 2019 Order [Doc. 92]. Exhibit 1 attached hereto is an index of those declarations listing the

declarations in alphabetical order.    The undersigned will also provide hard copies of the

declarations to Chambers in accordance with the Individual Practices of the Honorable P. Kevin

Castel. The declarations themselves follow this filing as subsequent exhibits.



                                             Respectfully submitted,


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                                             ATTORNEYS FOR PLAINTIFF


Dated: July 22, 2019
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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was served by the CM/ECF

system – or by other methods if so noted – on July 22, 2019 upon all counsel listed below:

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